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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION

 SIMON PROPERTY GROUP, INC.cp
 Simon Property Group, Inc.,

                   Plaintiff,

 v.                                          Case No: 6:11-cv-1598-Orl-31KRS

 LYNNETTE LAURIA, individually,
 DBA XLM Marketing, , DBA
 Marketing Resource Network, , DBA
 Excell Services, , DBA XLM Excell, ,
 DBA PR Works, ROBERT JAMES
 LAURIA, individually, DBA XLM
 Marketing, , DBA Marketing
 Resource Network, , DBA Excell
 Services, , DBA XLM Excell, , DBA
 PR Works, SARAH LAGI,
 individually, DBA XLM Marketing,
 RJL SERVICES, LLC, an inactive
 Florida limited liability company,
 ARNELL, INC., an inactive Nevada
 corporation, DBA XLM Marketing,
 SNOUTHOUND ENTERPRISES,
 LLC, a Florida limited liability
 company, IMAGE MARKETING
 GROUP, INC., an inactive Florida
 corporation, EVENT PLANNERS
 USA, INC., an inactive Florida
 corporation, POINTE
 DISTRIBUTION, LLC, an inactive
 Florida limited liability company,
 TAKITIK, INC., an inactive Florida
 corporation, HAT MARKETING,
 LLC, a Florida limited liability
 company, DT PRINTING
 SOLUTIONS, LLC, an inactive
 Florida limited liability company,
 TIMOTHY HERMAN, individually,
 DBA Florida Tourism Distribution
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 Services, , DBA Target Distribution, ,
 DBA TJI, , DBA EDL Management,
 RYAN DEMING, individually, DBA
 Florida Tourism Distribution Services,
 , DBA Kids Eat Free Card, , DBA
 Target Distribution, , DBA TJI, DALE
 TAKIO, individually, DBA Kids Eat
 Free Cards, IMAGE MARKETING
 OF FLA, INC., a Florida Corporation,
 and IMAGE MARKETING OF
 FLORIDA, LLC, an inactive limited
 liability company,

                  Defendants.
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                             JUDGMENT IN A CIVIL CASE


 Decision by Court.     This action came before the Court and a decision has been rendered.

       IT IS ORDERED AND ADJUDGED

       that the Motion for Summary Judgment (Doc. 258) is entered in favor of Defendant, Hat

       Marketing, LLC and against Plaintiff, Simon Property Group, Inc.

 Date: March 11, 2013




                                              SHERYL L. LOESCH, CLERK

                                              s/M. Lebedda, Deputy Clerk




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                        CIVIL APPEALS JURISDICTION CHECKLIST

1.    Appealable Orders: Courts of Appeals have jurisdiction conferred and strictly limited by statute:

      (a)       Appeals from final orders pursuant to 28 U.S.C. Section 1291: Only final orders and judgments of district courts, or final
                orders of bankruptcy courts which have been appealed to and fully resolved by a district court under 28 U.S.C. Section 158,
                generally are appealable. A final decision is one that “ends the litigation on the merits and leaves nothing for the court to do but
                execute the judgment.” Pitney Bowes, Inc. V. Mestre, 701 F.2d 1365, 1368 (11th Cir. 1983). A magistrate judge’s report and
                recommendation is not final and appealable until judgment thereon is entered by a district court judge. 28 U.S.C. Section 636(c).

      (b)       In cases involving multiple parties or multiple claims, a judgment as to fewer than all parties or all claims is not a final,
                appealable decision unless the district court has certified the judgment for immediate review under Fed.R.Civ.P. 54(b), Williams
                v. Bishop, 732 F.2d 885, 885-86 (11th Cir. 1984). A judgment which resolves all issues except matters, such as attorneys’ fees
                and costs, that are collateral to the merits, is immediately appealable. Budinich v. Becton Dickinson & Co., 486 U.S. 196, 201,
                108 S. Ct. 1717, 1721-22, 100 L.Ed.2d 178 (1988); LaChance v. Duffy’s Draft House, Inc., 146 F.3d 832, 837 (11th Cir. 1998).

      (c)       Appeals pursuant to 28 U.S.C. Section 1292(a): Appeals are permitted from orders “granting, continuing, modifying, refusing
                or dissolving injunctions or refusing to dissolve or modify injunctions...” and from “[i]nterlocutory decrees...determining the
                rights and liabilities of parties to admiralty cases in which appeals from final decrees are allowed.” Interlocutory appeals from
                orders denying temporary restraining orders are not permitted.

      (d)       Appeals pursuant to 28 U.S.C. Section 1292(b) and Fed.R.App.P.5: The certification specified in 28 U.S.C. Section 1292(b)
                must be obtained before a petition for permission to appeal is filed in the Court of Appeals. The district court’s denial of a
                motion for certification is not itself appealable.

      (e)       Appeals pursuant to judicially created exceptions to the finality rule: Limited exceptions are discussed in cases including, but
                not limited to: Cohen V. Beneficial Indus. Loan Corp., 337 U.S. 541,546,69 S.Ct. 1221, 1225-26, 93 L.Ed. 1528 (1949); Atlantic
                Fed. Sav. & Loan Ass’n v. Blythe Eastman Paine Webber, Inc., 890 F. 2d 371, 376 (11th Cir. 1989); Gillespie v. United States
                Steel Corp., 379 U.S. 148, 157, 85 S. Ct. 308, 312, 13 L.Ed.2d 199 (1964).

2.    Time for Filing: The timely filing of a notice of appeal is mandatory and jurisdictional. Rinaldo v. Corbett, 256 F.3d 1276, 1278 (11th
      Cir. 2001). In civil cases, Fed.R.App.P.4(a) and (c) set the following time limits:

      (a)       Fed.R.App.P. 4(a)(1): A notice of appeal in compliance with the requirements set forth in Fed.R.App.P. 3 must be filed in the
                district court within 30 days after the entry of the order or judgment appealed from. However, if the United States or an officer or
                agency thereof is a party, the notice of appeal must be filed in the district court within 60 days after such entry. THE NOTICE
                MUST BE RECEIVED AND FILED IN THE DISTRICT COURT NO LATER THAN THE LAST DAY OF THE
                APPEAL PERIOD - no additional days are provided for mailing. Special filing provisions for inmates are discussed below.

      (b)       Fed.R.App.P. 4(a)(3): “If one party timely files a notice of appeal, any other party may file a notice of appeal within 14 days
                after the date when the first notice was filed, or within the time otherwise prescribed by this Rule 4(a), whichever period ends
                later.”

      (c)       Fed.R.App.P.4(a)(4): If any party makes a timely motion in the district court under the Federal Rules of Civil Procedure of a
                type specified in this rule, the time for appeal for all parties runs from the date of entry of the order disposing of the last such
                timely filed motion.

      (d)       Fed.R.App.P.4(a)(5) and 4(a)(6): Under certain limited circumstances, the district court may extend the time to file a notice of
                appeal. Under Rule 4(a)(5), the time may be extended if a motion for an extension is filed within 30 days after expiration of the
                time otherwise provided to file a notice of appeal, upon a showing of excusable neglect or good cause. Under Rule 4(a)(6), the
                time may be extended if the district court finds upon motion that a party did not timely receive notice of the entry of the judgment
                or order, and that no party would be prejudiced by an extension.

      (e)       Fed.R.App.P.4(c): If an inmate confined to an institution files a notice of appeal in either a civil case or a criminal case, the
                notice of appeal is timely if it is deposited in the institution’s internal mail system on or before the last day for filing. Timely
                filing may be shown by a declaration in compliance with 28 U.S.C. Section 1746 or a notarized statement, either of which must
                set forth the date of deposit and state that first-class postage has been prepaid.

3.    Format of the notice of appeal: Form 1, Appendix of Forms to the Federal Rules of Appellate Procedure, is a suitable format. See also
      Fed.R.App.P. 3(c). A pro se notice of appeal must be signed by the appellant.

4.    Effect of a notice of appeal: A district court loses jurisdiction (authority) to act after the filing of a timely notice of appeal, except for
      actions in aid of appellate jurisdiction or to rule on a timely motion of the type specified in Fed.R.App.P. 4(a)(4).



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